8:10-cr-00146-JFB-TDT       Doc # 243     Filed: 10/24/11    Page 1 of 1 - Page ID # 597




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )           8:10CR146
                    Plaintiff,                  )
                                                )
      vs.                                       )           ORDER
                                                )
MICHAEL WASKO,                                  )
                                                )
                    Defendant.                  )


      This matter is before the court on the motion of defendant Michael Wasko (Wasko)
for a modification of his release conditions (Filing No. 238). Upon consideration, the
motion will be granted and Wasko shall be permitted to possess a hunting rifle for the
purpose of participating in hunting deer for the current deer hunting season as long as he
complies with the rules and regulations for deer hunting.


      IT IS SO ORDERED.


      DATED this 24th day of October, 2011.

                                                BY THE COURT:


                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
